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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                  April 15, 2016
                                                                                          David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-15-266
                                                  §
                                                  §     COMPLEX CASE
                                                  §
ALONZO FLOWERS                                    §
ANDRA COLEMAN                                     §
KYE RUE                                           §

                                                ORDER

       Defendant Alonzo Flowers filed an unopposed motion for continuance, (Docket Entry No.

184). The government and remaining codefendants are unopposed to the motion. The court finds

that the interests of justice are served by granting this continuance and that those interests outweigh

the interests of the public and the defendants in a speedy trial. The motion for continuance is

GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     August 1, 2016
       Responses are to be filed by:                   August 15, 2016
       Pretrial conference is reset to:                August 22, 2016 at 8:45 a.m.
       Jury trial and selection are reset to:          August 29, 2016 at 9:00 a.m.


               SIGNED on April 15, 2016, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
